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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -------------------------------------------------------X
  MARVIN ESCALANTE, NELSON
  MURILLO, and VICTORINO ANTONIO
  VICTORIA, individually and on behalf of
  others similarly situated,                                         COMPLAINT

                                     Plaintiffs,
                                                             COLLECTIVE ACTION UNDER
                   -against-                                      29 U.S.C. § 216(b)

  THE NEW HK INC. (D/B/A HUMMUS                                         ECF Case
  KITCHEN), SHARON HOOTA, and MAOR
  ONONO,

                                      Defendants.
  -------------------------------------------------------X

         Plaintiffs Marvin Escalante, Nelson Murillo, and Victorino Antonio Victoria, individually

 and on behalf of others similarly situated (collectively, “Plaintiffs”), by and through their

 attorneys, CSM Legal, P.C., upon their knowledge and belief, and as against The New HK Inc.

 (d/b/a Hummus Kitchen), (“Defendant Corporation”), Sharon Hoota and Maor Onono,

 (“Individual Defendants”), (collectively, “Defendants”), allege as follows:

                                           NATURE OF ACTION

       1.       Plaintiffs are former employees of Defendants The New HK Inc. (d/b/a Hummus

Kitchen), Sharon Hoota, and Maor Onono.

       2.       Defendants own, operate, or control a Mediterranean Restaurant, located at 1613 2nd

Ave New York, NY 10028 under the name “Hummus Kitchen”.
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        3.      Upon information and belief, individual Defendants Sharon Hoota and Maor Onono,

serve or served as owners, managers, principals, or agents of Defendant Corporation and, through

this corporate entity, operate or operated the restaurant as a joint or unified enterprise.

        4.      Plaintiffs were employed as delivery workers at the restaurant located at 1613 2nd

Ave New York, NY 10028.

        5.      Plaintiffs were ostensibly employed as delivery workers. However, they were

required to spend a considerable part of their work day performing non-tipped duties, including but

not limited to cleaning the fridge, cleaning the restaurant, sweeping, mopping, transferring

inventory, preparing food, filling in as a waiter/busboy, and restocking items (hereafter the “non-

tipped duties”).

        6.      At all times relevant to this Complaint, Plaintiffs worked for Defendants without

appropriate minimum wage compensation for the hours that they worked.

        7.      Rather, Defendants failed to maintain accurate recordkeeping of the hours worked

and failed to pay Plaintiffs appropriately for any hours worked, including at the straight rate of pay.

        8.      Furthermore, Defendants failed to pay Plaintiffs wages on a timely basis.

        9.      Defendants employed and accounted for Plaintiffs as delivery workers in their

payroll, but in actuality their duties required a significant amount of time spent performing the non-

tipped duties alleged above.

        10.     Regardless, at all relevant times, Defendants paid Plaintiffs at a rate that was lower

than the required tip-credit rate.

        11.     However, under both the FLSA and NYLL, Defendants were not entitled to take a

tip credit because Plaintiffs’ non-tipped duties exceeded 20% of each workday, or 2 hours per day,

whichever is less in each day. 12 N.Y. C.R.R. §146.



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       12.     Upon information and belief, Defendants employed the policy and practice of

disguising Plaintiffs’ actual duties in payroll records by designating them as delivery workers instead

of non-tipped employees. This allowed Defendants to avoid paying Plaintiffs at the minimum wage

rate and enabled them to pay them at the tip-credit rate (which they still failed to do).

       13.     In addition, Defendants maintained a policy and practice of unlawfully appropriating

Plaintiffs’ and other tipped employees’ tips and made unlawful deductions from these Plaintiffs’ and

other tipped employees’ wages.

       14.     Defendants’ conduct extended beyond Plaintiffs to all other similarly situated

employees.

       15.     At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs and other employees to work without providing the minimum wage

compensation required by federal and state law and regulations.

       16.     Plaintiffs now bring this action on behalf of themselves, and other similarly situated

individuals, for unpaid minimum wages pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C.

§ 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et seq. and 650 et seq. (the

“NYLL”), including applicable liquidated damages, interest, attorneys’ fees and costs.

       17.     Plaintiffs seek certification of this action as a collective action on behalf of

themselves, individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).

                                   JURISDICTION AND VENUE

       18.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §

1367(a).



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       19.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate a Mediterranean Restaurant located in this district. Further, Plaintiffs were employed by

Defendants in this district.

                                                PARTIES

                                                 Plaintiffs

       20.     Plaintiff Marvin Escalante (“Plaintiff Escalante” or “Mr. Escalante”) is an adult

individual residing in New York County, New York.

       21.     Plaintiff Escalante was employed by Defendants at Hummus Kitchen from

approximately June 2018 until on or about November 2021.

       22.     Plaintiff Nelson Murillo (“Plaintiff Murillo” or “Mr. Murillo”) is an adult individual

residing in New York County, New York.

       23.     Plaintiff Murillo was employed by Defendants at Hummus Kitchen from

approximately July 2018 until on or about October 2021.

       24.     Plaintiff Victorino Antonio Victoria (“Plaintiff Victoria” or “Mr. Victoria”) is an

adult individual residing in Bronx County, New York.

       25.     Plaintiff Victoria was employed by Defendants at Hummus Kitchen from

approximately January 2017 until on or about March 19, 2022.

                                             Defendants

       26.     At all relevant times, Defendants owned, operated, or controlled a Mediterranean

Restaurant, located at 1613 2nd Ave New York, NY 10028 under the name “Hummus Kitchen”.




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         27.   Upon information and belief, The New HK Inc. (d/b/a Hummus Kitchen) is a

domestic corporation organized and existing under the laws of the State of New York. Upon

information and belief, it maintains its principal place of business at 1613 2nd Ave New York, NY

10028.

         28.   Defendant Sharon Hoota is an individual engaging (or who was engaged) in business

in this judicial district during the relevant time period. Defendant Sharon Hoota is sued individually

in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Sharon Hoota

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the wages

and compensation of the employees of Defendants, including Plaintiffs, establishes the schedules of

the employees, maintains employee records, and has the authority to hire and fire employees.

         29.   Defendant Maor Onono is an individual engaging (or who was engaged) in business

in this judicial district during the relevant time period. Defendant Maor Onono is sued individually

in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Maor Onono

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the wages

and compensation of the employees of Defendants, including Plaintiffs, establishes the schedules of

the employees, maintains employee records, and has the authority to hire and fire employees.

                                    FACTUAL ALLEGATIONS

                               Defendants Constitute Joint Employers

         30.   Defendants operate a Mediterranean Restaurant located in the Upper East Side

section of Manhattan in New York City.




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          31.    Individual Defendants, Sharon Hoota and Maor Onono, possess operational control

over Defendant Corporation, possess ownership interests in Defendant Corporation, and control

significant functions of Defendant Corporation.

          32.    Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.

          33.    Each Defendant possessed substantial control over Plaintiffs’ (and other similarly

situated employees’) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiffs, and all similarly situated individuals, referred to herein.

          34.    Defendants jointly employed Plaintiffs (and all similarly situated employees) and are

Plaintiffs’ (and all similarly situated employees’) employers within the meaning of 29 U.S.C. 201 et

seq. and the NYLL.

          35.    In the alternative, Defendants constitute a single employer of Plaintiffs and/or

similarly situated individuals.

          36.    Upon information and belief, Individual Defendants Sharon Hoota and Maor Onono

operate Defendant Corporation as either an alter ego of themselves and/or failed to operate

Defendant Corporation as an entity legally separate and apart from themselves, by among other

things:

                a) failing to adhere to the corporate formalities necessary to operate Defendant

                   Corporation as a Corporation,

                b) defectively forming or maintaining the corporate entity of Defendant Corporation,

                   by, amongst other things, failing to hold annual meetings or maintaining

                   appropriate corporate records,

                c) transferring assets and debts freely as between all Defendants,



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             d) operating Defendant Corporation for their own benefit as the sole or majority

                   shareholders,

             e) operating Defendant Corporation for their own benefit and maintaining control over

                   this corporation as a closed Corporation,

             f) intermingling assets and debts of their own with Defendant Corporation,

             g) diminishing and/or transferring assets of Defendant Corporation to avoid full

                   liability as necessary to protect their own interests, and

             h) Other actions evincing a failure to adhere to the corporate form.

       37.     At all relevant times, Defendants were Plaintiffs’ employers within the meaning of

the FLSA and New York Labor Law. Defendants had the power to hire and fire Plaintiffs, controlled

the terms and conditions of employment, and determined the rate and method of any compensation

in exchange for Plaintiffs’ services.

       38.     In each year from 2017 to 2022, Defendants, both separately and jointly, had a gross

annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that are

separately stated).

       39.     In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the

restaurant on a daily basis are goods produced outside of the State of New York.

                                            Individual Plaintiffs

       40.     Plaintiffs are former employees of Defendants who ostensibly were employed as

delivery workers. However, they spent over 20% of each shift performing the non-tipped duties

described above.




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          41.   Plaintiffs seek to represent a class of similarly situated individuals under 29 U.S.C.

216(b).

                                      Plaintiff Marvin Escalante

          42.   Plaintiff Escalante was employed by Defendants from approximately June 2018 until

on or about November 2021.

          43.   Defendants ostensibly employed Plaintiff Escalante as a delivery worker.

          44.   However, Plaintiff Escalante was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

          45.   Although Plaintiff Escalante ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

          46.   Plaintiff Escalante regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

          47.   Plaintiff Escalante’s work duties required neither discretion nor independent

judgment.

          48.   From approximately June 2018 until on or about December 2019, Plaintiff Escalante

worked from approximately 5:00 p.m. until on or about 11:00 p.m. to 11:30 p.m., Mondays through

Saturdays (typically 36 to 39 hours per week).

          49.   From approximately January 2020 until on or about December 2020, Plaintiff

Escalante worked from approximately 4:00 p.m. until on or about 9:30 p.m. to 10:30 p.m., Mondays

through Saturdays (39 hours per week).

          50.   From approximately January 2021 until on or about November 2021, Plaintiff

Escalante worked from approximately 4:00 p.m. until on or about 9:00 p.m. to 10:00 p.m., 3 days a




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week and from approximately 6:00 p.m. until on or about 10:00 p.m. to 11:00 p.m., 3 days a week

(typically 33 hours per week).

        51.    Throughout his employment, Defendants paid Plaintiff Escalante his wages by check.

        52.    From approximately June 2018 until on or about December 2019, Defendants paid

Plaintiff Escalante $8.50 per hour.

        53.    From approximately January 2020 until on or about December 2020, Defendants paid

Plaintiff Escalante $10.00 per hour.

        54.    From approximately January 2021 until on or about November 2021, Defendants paid

Plaintiff Escalante $12.50 per hour.

        55.    Defendants never granted Plaintiff Escalante any breaks or meal periods of any kind.

        56.    Plaintiff Escalante was never notified by Defendants that his tips were being included

as an offset for wages.

        57.    Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Escalante’s wages.

        58.    Defendants withheld a portion of Plaintiff Escalante’s tips; specifically, Defendants

pocketed 60% of earned tips was taken from Plaintiff and $15-$20 would be deducted from credit

card tips.

        59.    Plaintiff Escalante was not required to keep track of his time, nor to his knowledge,

did the Defendants utilize any time tracking device such as punch cards, that accurately reflected his

actual hours worked.

        60.    Although Plaintiff Escalante was required to keep track of his time, Defendants

required him to record fewer hours than he actually worked. As a result, Plaintiff Escalante was not

compensated for all of the hours that he worked.



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        61.    On a number of occasions, Defendants required Plaintiff Escalante to sign a

document, the contents of which he was not allowed to review in detail, in order to release his weekly

pay.

        62.    Defendants took improper and illegal deductions of Plaintiff Escalante’s wages;

specifically, Defendants deducted a portion from Plaintiff Escalante's weekly wages for errors with

deliveries.

        63.    No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Escalante regarding overtime and wages under the FLSA and NYLL.

        64.    Defendants did not provide Plaintiff Escalante an accurate statement of wages, as

required by NYLL 195(3).

       65.     In fact, Defendants adjusted Plaintiff Escalante’s paystubs so that they reflected

inaccurate wages and hours worked.

       66.     Defendants did not give any notice to Plaintiff Escalante, in English and in Spanish

(Plaintiff Escalante’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

       67.     Defendants required Plaintiff Escalante to purchase “tools of the trade” with his own

funds—including one bicycle and one bicycle chain.

                                       Plaintiff Nelson Murillo

        68.    Plaintiff Murillo was employed by Defendants from approximately July 2018 until

on or about October 2021.

        69.    Defendants ostensibly employed Plaintiff Murillo as a delivery worker.

        70.    However, Plaintiff Murillo was also required to spend a significant portion of his

work day performing the non-tipped duties described above.



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       71.     Although Plaintiff Murillo ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

       72.     Plaintiff Murillo regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       73.     Plaintiff Murillo’s work duties required neither discretion nor independent judgment.

       74.     From approximately July 2018 until on or about April 2020, Plaintiff Murillo worked

from approximately 5:00 p.m. until on or about 11:00 p.m. to 1:00 a.m., 5 days a week (typically 30

to 40 hours per week).

       75.     From approximately June 2020 until on or about November 2020, Plaintiff Murillo

worked from approximately 5:00 p.m. until on or about 11:00 p.m. to 1:00 a.m., 5 days a week

(typically 30 to 40 hours per week).

       76.     From approximately December 2020 until on or about January 2021, Plaintiff Murillo

worked from approximately 9:00 a.m. until on or about 8:00 p.m., 4 days a week (typically 44 hours

per week).

       77.     From approximately February 2021 until on or about October 2021, Plaintiff Murillo

worked from approximately 6:00 p.m. until on or about 11:00 p.m., 2 days a week and from

approximately 5:00 p.m. until on or about 11:00 p.m., 3 days a week (typically 28 hours per week).

       78.     Throughout his employment, Defendants paid Plaintiff Murillo his wages by check.

       79.     From approximately July 2018 until on or about December 2018, Defendants paid

Plaintiff Murillo $11.00 per hour.

       80.     From approximately January 2019 until on or about October 2021, Defendants paid

Plaintiff Murillo $12.50 per hour.

       81.     Defendants never granted Plaintiff Murillo any breaks or meal periods of any kind.



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       82.     Plaintiff Murillo was never notified by Defendants that his tips were being included

as an offset for wages.

       83.     Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Murillo’s wages.

       84.     Defendants withheld a portion of Plaintiff Murillo’s tips; specifically, Defendants

pocketed a percentage of credit card tips.

       85.     Although Plaintiff Murillo was required to keep track of his time, Defendants

required him to record fewer hours than he actually worked or would even take out a whole day of

work. As a result, Plaintiff Murillo was not compensated for all of the hours that he worked.

       86.     On a number of occasions, Defendants required Plaintiff Murillo to sign a document,

the contents of which he was not allowed to review in detail.

       87.     Defendants took improper and illegal deductions of Plaintiff Murillo’s wages;

specifically, Defendants deducted one days’ worth of wages from Plaintiff Murillo's weekly wages

whenever Plaintiff Murillo was unable to work, but had another coworker punch in for him. In fact,

Defendants required Plaintiff Murillo to compensate another coworker for his coverage.

       88.     No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Murillo regarding overtime and wages under the FLSA and NYLL.

       89.     Defendants did not provide Plaintiff Murillo an accurate statement of wages, as

required by NYLL 195(3).

      90.      In fact, Defendants adjusted Plaintiff Murillo’s paystubs so that they reflected

inaccurate wages and hours worked.




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      91.      Defendants did not give any notice to Plaintiff Murillo, in English and in Spanish

(Plaintiff Murillo’s primary language), of his rate of pay, employer’s regular pay day, and such other

information as required by NYLL §195(1).

      92.      Defendants required Plaintiff Murillo to purchase “tools of the trade” with his own

funds—including two electric bicycles, one bicycle motor, and four bike locks.

                                 Plaintiff Victorino Antonio Victoria

       93.     Plaintiff Victoria was employed by Defendants from approximately January 2017

until on or about March 19, 2022.

       94.     Defendants ostensibly employed Plaintiff Victoria as a delivery worker.

       95.     However, Plaintiff Victoria was also required to spend a significant portion of his

work day performing the non-tipped duties described above.

       96.     Although Plaintiff Victoria ostensibly was employed as a delivery worker, he spent

over 20% of each day performing non-tipped work throughout his employment with Defendants.

       97.     Plaintiff Victoria regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       98.     Plaintiff Victoria’s work duties required neither discretion nor independent judgment.

       99.     From approximately January 2017 until on or about December 31, 2017, Plaintiff

Victoria worked from approximately 4:00 p.m. until on or about 11:00 p.m., 5 days a week (typically

35 hours per week).

       100.    From approximately January 2018 until on or about December 31, 2018, Plaintiff

Victoria worked from approximately 6:00 p.m. until on or about 11:00 p.m., 5 days a week (typically

25 hours per week).




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       101.    From approximately January 2019 until on or about March 12, 2020, Plaintiff

Victoria worked from approximately 4:00 p.m. until on or about 10:30 p.m., 5 days a week (typically

32.5 hours per week).

       102.    From approximately April, 2020 until on or about November 2021, Plaintiff Victoria

worked from approximately 5:00 p.m. until on or about 11:00 p.m., 5 days a week (typically 30

hours per week).

       103.    From approximately December 1, 2021 until on or about December 31,. 2021,

Plaintiff Victoria worked from approximately 6:00 p.m. until on or about 11:00 p.m., 4 days a week

(typically 20 hours per week).

       104.    From approximately January 2022 until on or about March 19, 2022, Plaintiff

Victoria worked from approximately 4:00 p.m. until on or about 11:00 p.m., 4 days a week (typically

28 hours per week).

       105.    Throughout his employment, Defendants paid Plaintiff Victoria his wages by check.

       106.    From approximately January 2017 until on or about December 31, 2017, Defendants

paid Plaintiff Victoria $8.50.

       107.    From approximately January 2018 until on or about March 19, 2022, Defendants paid

Plaintiff Victoria $12.50.

       108.    Plaintiff Victoria is owed one weeks’ worth of wages worked during approximately

February 2021. Additionally, Plaintiff Victoria is owed 6 hours’ worth of wages for his last day of

work as well as $89 made from tips.

       109.    Plaintiff Victoria’s pay did not vary even when he was required to stay later or work

a longer day than his usual schedule.




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       110.    For example, Defendants required Plaintiff Victoria to work an additional 30 minutes

past his scheduled departure time every day. Additionally, Defendants required Plaintiff Victoria to

work an additional 2 hours before his scheduled arrival time once a week and did not pay him for

the additional time he worked.

       111.    Defendants never granted Plaintiff Victoria any breaks or meal periods of any kind.

       112.    Plaintiff Victoria was never notified by Defendants that his tips were being included

as an offset for wages.

       113.    Defendants did not account for these tips in any daily or weekly accounting of

Plaintiff Victoria’s wages.

       114.    Although Plaintiff Victoria was required to keep track of his time, Defendants

manipulated his hours that resulted in a reduction of actual hours worked.

       115.    No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Victoria regarding overtime and wages under the FLSA and NYLL.

       116.    Defendants did not provide Plaintiff Victoria an accurate statement of wages, as

required by NYLL 195(3).

      117.     In fact, Defendants adjusted Plaintiff Victoria’s paystubs so that they reflected

inaccurate wages and hours worked.

      118.     Defendants did not give any notice to Plaintiff Victoria, in English and in Spanish

(Plaintiff Victoria’s primary language), of his rate of pay, employer’s regular pay day, and such other

information as required by NYLL §195(1).

      119.     Defendants required Plaintiff Victoria to purchase “tools of the trade” with his own

funds—including one bike, one helmet, and one vest.

                                  Defendants’ General Employment Practices



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      120.     At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs (and all similarly situated employees) to work without paying them

appropriate minimum wage as required by federal and state laws.

      121.     Plaintiffs were victims of Defendants’ common policy and practices which violate

their rights under the FLSA and New York Labor Law by, inter alia, not paying them the wages

they were owed for the hours they worked.

      122.     Defendants’ pay practices resulted in Plaintiffs not receiving payment for all their

hours worked, and resulted in Plaintiffs’ effective rate of pay falling below the required minimum

wage rate.

      123.     Defendants habitually required Plaintiffs to work additional hours beyond their

regular shifts but did not provide them with any additional compensation.

      124.     Defendants required Plaintiffs and all other delivery workers to perform general non-

tipped tasks in addition to their primary duties as delivery workers.

      125.     These Plaintiffs and all similarly situated employees, ostensibly were employed as

tipped employees by Defendants, although their actual duties included a significant amount of time

spent performing the non-tipped duties outlined above.

      126.      The Plaintiffs’ duties were not incidental to their occupation as tipped workers , but

instead constituted entirely unrelated general restaurant work with duties, including the non-tipped

duties described above.

      127.     These Plaintiffs and all other tipped workers were paid at a rate that was lower than

the lower tip-credit rate by Defendants.




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      128.     However, under state law, Defendants were not entitled to a tip credit because the

tipped worker’s and these Plaintiffs’ non-tipped duties exceeded 20% of each workday (or 2 hours

a day, whichever is less) (12 N.Y.C.R.R. § 146).

      129.     New York State regulations provide that an employee cannot be classified as a tipped

employee on any day in which he or she has been assigned to work in an occupation in which tips

are not customarily received. (12 N.Y.C.R.R. §§137-3.3 and 137-3.4). Similarly, under federal

regulation 29 C.F.R. §531.56(e), an employer may not take a tip credit for any employee time if that

time is devoted to a non-tipped occupation.

      130.     In violation of federal and state law as codified above, Defendants classified these

Plaintiffs and other tipped workers as tipped employees, and paid them at a rate that was lower than

the lower tip-credit rate when they should have classified them as non-tipped employees and paid

them at the minimum wage rate.

      131.     Defendants failed to inform Plaintiffs who received tips that Defendants intended to

take a deduction against Plaintiffs’ earned wages for tip income, as required by the NYLL before

any deduction may be taken.

      132.     Defendants failed to inform Plaintiffs who received tips, that their tips were being

credited towards the payment of the minimum wage.

      133.     Defendants failed to maintain a record of tips earned by Plaintiffs who worked as

delivery workers for the tips they received. Defendants’ time keeping system did not reflect the

actual hours that Plaintiff Escalante worked.

      134.     As part of its regular business practice, Defendants intentionally, willfully, and

repeatedly harmed Plaintiffs who received tips, by engaging in a pattern, practice, and/or policy of




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violating the FLSA and the NYLL. This policy and pattern or practice included depriving delivery

workers of a portion of the tips earned during the course of employment.

      135.     Defendants unlawfully misappropriated charges purported to be gratuities received

by tipped Plaintiffs, and other tipped employees, in violation of New York Labor Law § 196-d

(2007).

      136.     Under the FLSA and NYLL, in order to be eligible for a “tip credit,” employers of

tipped employees must either allow employees to keep all the tips that they receive or forgo the tip

credit and pay them the full hourly minimum wage.

      137.     Defendants    willfully   disregarded      and   purposefully   evaded   recordkeeping

requirements of the FLSA and NYLL by failing to maintain accurate and complete timesheets and

payroll records.

      138.     On a number of occasions, Defendants required Plaintiffs to sign a document the

contents of which they were not allowed to review in detail. Defendants failed to post at the

workplace, or otherwise provide to employees, the required postings or notices to employees

regarding the applicable wage and hour requirements of the FLSA and NYLL.

      139.     Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiffs (and similarly situated individuals) worked, and to

avoid paying Plaintiffs properly for their full hours worked.

      140.     Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

      141.     Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiffs and other similarly situated former workers.



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      142.     Defendants failed to provide Plaintiffs and other employees with accurate wage

statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number

of regular hours worked; and the number of overtime hours worked, as required by NYLL §195(3).

      143.     Defendants failed to provide Plaintiffs and other employees, at the time of hiring and

on or before February 1 of each subsequent year, a statement in English and the employees’ primary

language, containing: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

week, salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the employer; the name

of the employer; any “doing business as” names used by the employer; the physical address of the

employer's main office or principal place of business, and a mailing address if different; and the

telephone number of the employer, as required by New York Labor Law §195(1).

                             FLSA COLLECTIVE ACTION CLAIMS

      144.     Plaintiffs bring their FLSA minimum wage and liquidated damages claims as a

collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all similarly

situated persons (the “FLSA Class members”), i.e., persons who are or were employed by

Defendants or any of them, on or after the date that is three years before the filing of the complaint

in this case (the “FLSA Class Period”).

      145.     At all relevant times, Plaintiffs and other members of the FLSA Class were similarly

situated in that they had substantially similar job requirements and pay provisions, and have been



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subject to Defendants’ common practices, policies, programs, procedures, protocols and plans

including willfully failing and refusing to pay them the required minimum wage and willfully failing

to keep records under the FLSA.

      146.     The claims of Plaintiffs stated herein are similar to those of the other employees.

                                   FIRST CAUSE OF ACTION

             VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

      147.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      148.     At all times relevant to this action, Defendants were Plaintiffs’ employers within the

meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d). Defendants had the power to hire and

fire Plaintiffs (and the FLSA Class Members), controlled the terms and conditions of their

employment, and determined the rate and method of any compensation in exchange for their

employment.

      149.     At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.

      150.     Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (r-s).

       151.    Defendants failed to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate, in violation of 29 U.S.C. § 206(a).

      152.     Defendants’ failure to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

      153.     Plaintiffs (and the FLSA Class members) were damaged in an amount to be

determined at trial.




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                                  SECOND CAUSE OF ACTION

                 VIOLATION OF THE NEW YORK MINIMUM WAGE ACT

      154.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      155.     At all times relevant to this action, Defendants were Plaintiffs’ employers within the

meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants had the power to hire and fire Plaintiffs,

controlled the terms and conditions of their employment, and determined the rates and methods of

any compensation in exchange for their employment.

      156.     Defendants, in violation of NYLL § 652(1) and the supporting regulations of the New

York State Department of Labor, paid Plaintiffs less than the minimum wage.

      157.     Defendants’ failure to pay Plaintiffs the minimum wage was willful within the

meaning of N.Y. Lab. Law § 663.

      158.     Plaintiffs were damaged in an amount to be determined at trial.

                                   THIRD CAUSE OF ACTION

                   VIOLATION OF THE NOTICE AND RECORDKEEPING

                    REQUIREMENTS OF THE NEW YORK LABOR LAW

      159.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      160.     Defendants failed to provide Plaintiffs with a written notice, in English and in Spanish

(Plaintiffs’ primary language), containing: the rate or rates of pay and basis thereof, whether paid by

the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by

the employer; the name of the employer; any “doing business as" names used by the employer; the

physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by NYLL §195(1).



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      161.     Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.

                                  FOURTH CAUSE OF ACTION

                  VIOLATION OF THE WAGE STATEMENT PROVISIONS

                               OF THE NEW YORK LABOR LAW

      162.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      163.     With each payment of wages, Defendants failed to provide Plaintiffs with an accurate

statement listing each of the following: the dates of work covered by that payment of wages; name

of employee; name of employer; address and phone number of employer; rate or rates of pay and

basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross

wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the regular

hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours worked;

and the number of overtime hours worked, as required by NYLL 195(3).

      164.     Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.

                                   FIFTH CAUSE OF ACTION

                             RECOVERY OF EQUIPMENT COSTS

      165.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      166.     Defendants required Plaintiffs to pay, without reimbursement, the costs and expenses

for purchasing and maintaining equipment and “tools of the trade” required to perform their jobs,

further reducing their wages in violation of the FLSA and NYLL. 29 U.S.C. § 206(a); 29 C.F.R. §

531.35; N.Y. Lab. Law §§ 193 and 198-b.

      167.     Plaintiffs were damaged in an amount to be determined at trial.



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                                    SIXTH CAUSE OF ACTION

                   UNLAWFUL DEDUCTIONS FROM TIPS IN VIOLATION

                               OF THE NEW YORK LABOR LAW

      168.     Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      169.     At all relevant times, Defendants were Plaintiffs’ employers within the meaning of

the N.Y. Lab. Law §§ 2 and 651.

      170.     New York State Labor Law § 196-d prohibits any employer or his agents, including

owners and managers, from demanding or accepting, directly or indirectly, any part of the gratuities

received by an employee, or retaining any part of a gratuity, or any charge purported to be a gratuity,

for an employee.

      171.     Defendants unlawfully misappropriated a portion of Plaintiffs’ tips that were received

from customers.

      172.     Defendants knowingly and intentionally retained a portion of Plaintiffs’ tips in

violations of the NYLL and supporting Department of Labor Regulations.

                      Plaintiffs were damaged in an amount to be determined at trial.

                                    SEVENTH CAUSE OF ACTION

                  UNLAWFUL DEDUCTIONS FROM WAGES IN VIOLATION

                               OF THE NEW YORK LABOR LAW

       173.    Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

       174.    At all relevant times, Defendants were Plaintiffs’ employers within the meaning of

the N.Y. Lab. Law §§ 2 and 651.

       175.    Defendants made unlawful deductions from Plaintiffs’ wages; specifically,

Defendants deducted one days’ worth of wages from Plaintiff Murillo's weekly wages whenever



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Plaintiff Murillo was unable to work; Defendants required Plaintiff Murillo to compensate another

coworker for his coverage.

         176.    The deductions made from Plaintiffs’ wages were not authorized or required by law.

         177.    Through their knowing and intentional efforts to take unauthorized deductions from

Plaintiffs’ wages, Defendants willfully violated NYLL, Article 6, §§ 190 et seq., and supporting

New York State regulations.

                     Plaintiffs were damaged in an amount to be determined at trial.

                                    EIGHTH CAUSE OF ACTION

                    VIOLATION OF THE TIMELY PAYMENT PROVISIONS

                                 OF THE NEW YORK LABOR LAW

        178.     Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

        179.     Defendants did not pay Plaintiffs on a regular weekly basis, in violation of NYLL

§191.

        180.     Defendants are liable to each Plaintiff in an amount to be determined at trial.



                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

 Defendants by:

           (a)     Designating this action as a collective action and authorizing prompt issuance of

 notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

 of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

 this action;




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        (b)      Declaring that Defendants violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

        (c)      Declaring that Defendants violated the recordkeeping requirements of, and

associated rules and regulations under, the FLSA with respect to Plaintiffs’ and the FLSA Class

members’ compensation, hours, wages, and any deductions or credits taken against wages;

        (d)      Declaring that Defendants’ violations of the provisions of the FLSA were willful

as to Plaintiffs and the FLSA Class members;

        (e)      Awarding Plaintiffs and the FLSA Class members damages for the amount of

unpaid minimum wage and damages for any improper deductions or credits taken against wages

under the FLSA as applicable;

        (f)      Awarding Plaintiffs and the FLSA Class members liquidated damages in an amount

equal to 100% of their damages for the amount of unpaid minimum wage, and damages for any

improper deductions or credits taken against wages under the FLSA as applicable pursuant to 29

U.S.C. § 216(b);

        (g)      Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiffs;

        (h)      Declaring that Defendants violated the timely payment provisions of the NYLL as

to Plaintiffs;

        (i)      Awarding Plaintiff liquated damages in an amount equal to one hundred percent

(100%) of the total amount of wages shown to be untimely, as well as reasonable attorneys’ fees

and costs, and pre-judgment and post-judgment interests pursuant to NYLL §191(1)(a), 198;

        (j)      Declaring that Defendants violated the notice and recordkeeping requirements of

the NYLL with respect to Plaintiffs’ compensation, hours, wages and any deductions or credits



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taken against wages;

        (k)     Declaring that Defendants’ violations of the provisions of the NYLL were willful

as to Plaintiffs;

        (l)     Awarding Plaintiffs damages for the amount of unpaid minimum wage, and for any

improper deductions or credits taken against wages as applicable

        (m)     Awarding Plaintiffs damages for Defendants’ violation of the NYLL notice and

recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

        (n)     Awarding Plaintiffs liquidated damages in an amount equal to one hundred percent

(100%) of the total amount of minimum wage shown to be owed pursuant to NYLL § 663 as

applicable; and liquidated damages pursuant to NYLL § 198(3);

        (o)     Awarding Plaintiffs and the FLSA Class members pre-judgment and post-judgment

interest as applicable;

        (p)         Awarding Plaintiffs and the FLSA Class members the expenses incurred in this

action, including costs and attorneys’ fees;

        (q)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

        (r)     All such other and further relief as the Court deems just and proper.

                                          JURY DEMAND

         Plaintiffs demand a trial by jury on all issues triable by a jury.

Dated: New York, New York

        June 27, 2022



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